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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF FLORIDA
                         PENSACOLA DIVISION

UNITED STATES OF AMERICA,

      v.                                            Case No.:    3:20cr039/MCR

PAUL STEPHEN VALDEZ.
                                       /

                                     ORDER

      This matter is before the Court on Defendant Paul Stephen Valdez’s first

motion in limine to exclude evidence under Federal Rule of Evidence 404(b). See

ECF No. 56. Valdez seeks an order precluding the Government from introducing

evidence that (1) he previously stole a combat helmet placed on the ground by

another service member during a training exercise; and (2) he previously described

his plans to steal night-vision goggles and military explosive equipment from Camp

Rudder on Eglin Air Force Base to other service members. On consideration, the

motion is denied.

      Rule 404(b) prohibits the use of extrinsic evidence of a defendant’s prior

crimes or other bad acts to show the defendant’s bad character or propensity to

commit the charged crimes. United States v. Costa, 691 F.2d 1358, 1361 (11th Cir.

1982). However, this kind of extrinsic act evidence is admissible for other purposes,

such as to prove motive, intent, plan, knowledge, absence of mistake, or lack of

accident. See Fed. R. Evid. 404(b)(2). Evidence is admissible under Rule 404(b)
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where: (1) it is relevant to an issue other than the defendant’s character; (2) sufficient

evidence is presented that would allow a jury to find that the defendant committed

the extrinsic act; and (3) its probative value is not substantially outweighed by the

potential for undue prejudice. United States v. Ellisor, 522 F.3d 1255, 1267 (11th

Cir. 2008). Importantly, Rule 404(b) is a “rule of inclusion” not exclusion; therefore,

extrinsic act evidence should be admitted “unless it tends to prove only criminal

propensity.” United States v. Ellisor, 522 F.3d 1255, 1267 (11th Cir. 2008).

      Valdez argues the extrinsic act evidence that he previously stole a combat

helmet fails two of the criteria for admissibility under Rule 404(b). First, Valdez

maintains this evidence is inadmissible because there is insufficient proof that he

actually stole a helmet in the past. This argument fails. The Government may prove

that a defendant actually committed an extrinsic act by “produc[ing] . . . enough

evidence to present a jury question on the issue.” United States v. Chilcote, 724 F.2d

1498, 1502 n.2 (11th Cir. 1984). A defendant’s “own statement, admitting that he

committed the act, even if mere puffery, is sufficient to justify a jury finding that he

committed the act.” Id. Here, according to the Government, several witnesses will

testify at trial that Valdez admitted to stealing a Special Forces soldier’s combat

helmet. Valdez’s own statements to these witnesses constitute sufficient proof that

he actually stole a combat helmet for purposes of those statements’ admissibility

under Rule 404(b).



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      Second, Valdez maintains the evidence that he previously stole a combat

helmet is not relevant to any issue other than his character. This argument also fails.

Valdez is charged with one count of stealing Enhanced Small Arms Protective

Inserts (“ESAPI”) from the government, which requires, inter alia, proof that Valdez

“knowingly and willfully” took the ESAPI “with the intent either temporarily or

permanently to deprive [the government] of [its] use.” See United States v. McRee,

7 F.3d 976, 980 (11th Cir. 1993). By pleading not guilty, Valdez has made his

knowledge and intent “material issue[s]” that the government may prove by

qualifying extrinsic act evidence, absent affirmative steps by him to remove

knowledge and intent as issues. See United States v. Edouard, 485 F.3d 1324, 1345

(11th Cir. 2007). There is no evidence or even argument that Valdez took any such

steps. Thus, extrinsic act evidence that Valdez knowingly and willfully stole

government property in the past—namely, a combat helmet—remains highly

probative of his knowledge and intent with respect to the theft of government

property at issue in this case, and it also bears on his motive, opportunity, preparation

and planning in carrying out the charged offense. See, e.g., United States v.

Beechum, 582 F.2d 898, 916 (5th Cir. 1978) (extrinsic act evidence that defendant

previously possessed stolen credit cards with the intent to permanently deprive the

owners of them was admissible to prove his intent in a subsequent trial for possessing




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a stolen silver dollar). 1 Because the evidence is relevant to issues other than

Valdez’s character, it satisfies the Rule 404(b) standard for admissibility.

       Valdez also challenges the admissibility of evidence that he planned to steal

night-vision goggles and military explosive equipment from secure military

locations, and that he shared those plans with other service members. He seems to

argue that he was merely joking when he made those statements and that jokes of

this nature were commonplace in Army culture. In his view, his statements are thus

only minimally probative but have a high risk of unfairly prejudicing the jury;

therefore, he believes the statements fail the third requirement for admissibility

under Rule 404(b). This is incorrect.

       To begin with, the question of whether Valdez’s statements were serious or a

joke goes to the weight of the evidence, not its admissibility. See Wright v. West,

505 U.S. 277, 296 (1999) (stating that the jury “[a]s the trier of fact was entitled to

disbelieve” testimony and “discount” it “as affirmative evidence of guilt”); United

States v. Brown, 415 F.3d 1257, 1270 (11th Cir. 2005) (“Questions about the weight

given to testimony . . . are for the factfinder.”). Regarding probative value, again,

Valdez has put his intent and state of mind at issue in this case. See Edouard, 485

F.3d at 1345. Thus, Valdez’s statements detailing his previous plan to steal military


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          In Bonner v. City of Prichard, 661 F.2d 1206, 1209 (11th Cir. 1981) (en banc), the
Eleventh Circuit adopted as binding precedent all decisions of the former Fifth Circuit rendered
prior to October 1, 1981.


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equipment are highly relevant for the non-propensity purposes of showing his

knowledge, intent, motive, opportunity, plan, and preparation in carrying out the

similar theft of military equipment charged in this case. See United States v. Astling,

733 F.2d 1446 (11th Cir. 1984) (evidence that defendants previously participated in

a similar drug smuggling scheme admissible as evidence of intent, motive and

similar plan in prosecution for drug smuggling scheme). There is little likelihood of

the statements causing unfair prejudice—they are “not of a heinous nature, likely to

incite the jury to an irrational decision,” see United States v. Mitchell, 666 F.2d 1385,

1390 (11th Cir. 1982), nor will they be cumulative or otherwise confusing to the

jury, United States v. Tunsil, 672 F.2d 879, 881 (11th Cir. 1982). Any potentially

prejudicial effect from the admission of the statements may be mitigated by an

appropriate cautionary instruction to the jury, which will be given, if requested. See

United States v. Diaz-Lizaraza, 981 F.2d 1216, 1225 (11th Cir. 1993). The Court

thus finds the probative value of this evidence is not outweighed by the risk of undue

prejudice, and the evidence is relevant and admissible under Rule 404(b).

      Based on the foregoing, Defendant Paul Stephen Valdez’s First Motion in

Limine, ECF No. 56, is DENIED.

      DONE AND ORDERED, on this 28th day of October, 2020.


                                  M. Casey Rodgers
                                  M. CASEY RODGERS
                                  UNITED STATES DISTRICT JUDGE

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